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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




 HON. PAULINE NEWMAN,

                   Plaintiff,                    Case No. 1:23-cv-01334-CRC

          v.

 HON. KIMBERLY A. MOORE, et al.,

                   Defendants.




                                   [PROPOSED] ORDER

       Upon consideration of Defendants’ Motion for Dispute Resolution Process, and good

cause appearing, it is hereby

       ORDERED that Defendants’ Motion is granted; and

       ORDERED that the parties are referred to the following process to resolve their me-

diation confidentiality dispute:




       IT IS SO ORDERED.



Dated: _________________, 2023                  ____________________________
                                                Christopher R. Cooper
                                                United States District Judge
